Case 2:04-cr-20502-SH|\/| Document 44 Filed 07/05/05 Page'lof_Z Page|D 62

IN TI-n:: UNITED sTATEs DISTRICT coIm-r m SY“. - D.C.

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UNITED sTATES oF AMERICA, C|.EWQU.S.{}§T§CT%

WlD 05 irv__ ii§Wi-HS
Plaintiff,
vs. CR. NO. 04-20502-01-Ma

JEFFREY HARDIN,

\_#\_/V~_/VV~._/VV

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July l, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Jeffrey Hardin, appearing in person and with
appointed counsel, Mr. J. Patten Brown, III.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, October 7, 2005
at 2:00 p.m"

The defendant is referred to the Magistrate Judge for a
detention hearing. Pending such hearing, defendant shall remain

on his present bond.

l s L
day of July, 2005.
This dochent entered on the dockeS ELo H ' MAYS ' JR '
w|th Hu|e 55 and/or 321b) FRCrP on - S DISTRICT JUDGE

ENTERED this the

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20502 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Samuel Mays
US DISTRICT COURT

